                        UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION
                                      3:09cr237

UNITED STATES OF AMERICA,                        )
                                                 )
               v.                                )             PRELIMINARY ORDER
                                                 )               OF FORFEITURE
(3) JORGE OCHOA-RODRIGUEZ                        )


       In the Bill of Indictment in this case, the United States sought forfeiture of property

pursuant to 21 U.S.C. § 853(a) as property that was proceeds of and/or was used to facilitate the

drug crimes charged, together with any other substitute property, which would be subject to

forfeiture under § 853(p).

       Defendant pled guilty to Count Two in the Bill of Indictment, without a plea agreement,

and was adjudged guilty of the offense charged in that count. The government has submitted an

affidavit of DEA Special Agent Eric S. Lee to establish, in accordance with Rule 32.2(b)(1)(A),

“the requisite nexus between the property and the offense.”

       It is therefore ORDERED:

       1. Based upon defendant’s plea of guilty, the United States is authorized to seize the

following property, and it is hereby forfeited to the United States for disposition according to

law, subject to the provisions of 21 U.S.C. § 853(n):

       Approximately $13,000 in United States currency seized on December 4, 2009;

       One Ruger P89 9mm pistol, serial number 310-94907;

       One Ruger Model 10/22 Carbine .22 caliber rifle, serial number 125-05527;

       One Intra Tec .22LR Tec-22 handgun, serial number 0492-57;

       One Rossi .22LR revolver, serial number L054195;




        Case 3:09-cr-00237-RJC          Document 62        Filed 08/09/10      Page 1 of 2
        One Bryco Arms .22 LR semi-automatic pistol, serial number 1060680; and

        Any and all ammunition seized on December 4, 2009.

        2. Pursuant to 21 U.S.C. § 853(n)(1), the government shall publish as required by law

notice of this order and notice that any person, other than the defendant, having or claiming a

legal interest in any of the above-listed forfeited property must file a petition with the Court

within thirty days of the final publication of notice or of receipt of actual notice, whichever is

earlier. This notice shall state that the petition shall be for a hearing to adjudicate the validity of

the petitioner’s alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner’s right, title or interest in each

of the forfeited properties and any additional facts supporting the petitioner’s claim and the relief

sought. The United States may, as permitted by law and to the extent practicable, provide direct

written notice to any person known to have alleged an interest in property that is the subject of

this order of forfeiture, as a substitute for published notice.

        3. Upon adjudication of all third-party interests, this Court will enter a final order and

judgment of forfeiture pursuant to 21 U.S.C. § 853(n).


                                                    Signed: August 9, 2010




                                                    2


        Case 3:09-cr-00237-RJC            Document 62         Filed 08/09/10       Page 2 of 2
